                Case
  SMALL CLAIMS V!VRIT                    3:17-cv-00030-MPS  Document
                                                       CONNECTICUT    1-1 Filed
                                                                   SUPERIOR     01/06/17 Page 1 of 6
                                                                            COURT
  AND NOTICE OF SUIT                                                          SMALL CLAIMS SESSION
  JD-CVAO Rev.9-16
                                                                                                                                                For Court Use On/y
  C.G.S. §§ 51-15,51-345(g)                                                                                                                  Do Not Write In This Space
                                                 Type or print legib/y. This Writ and Notice of Suit must be served
                                                                                                                              ~                 Batoode Labe/ On/y
                                                 on (delivered to) the defendant(s) before riling it with the court.
                                                 See tnstructions to P/afntiflon reverse.


  1.) Information that will determine where the trial wiil be                   I 2.) Is this a claim between a landlord and a tenant (renter)? ("X" one) ~ Yes         ❑
                                                                                                                                                                        X No
                                                                                  3.) If you answered "yes" to question #2 above,
                                                                                      state the town where the rental premises is located:
    Parties             NamEi (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
                        Nami:: Frando J. Webb
   4. First                                                                                                                             C'X" One)      ~ LLC ~ Partnership
                      Addres:::23 Ward Place Hartford, Connecticut 06106                                                                                                               P"01
   Plaintiff                                                                                                                            ~ Individual   ~ DBA ~ corporation
                     elephone: 860-840-8675
                        NamE::                                                                                                          ("X" One)
 Additional                                                                                                                                            EI LLC ~ Partnership
                      Addres:~:                                                                                                                                                        P-02
   Plaintiff                                                                                                                            0 Individual   F] DBA         Corporation
                     elephonet:
 5.) Name, address and zip c:ode of Atiomey for Plaintiff(s)                                                               Aftomey's Juris number      Telephone number (w/area code)




                        Name: Portfolio Recovery Associates, LLC
  6. First                                                                                                                              f'x" One)      ~ LLc ~ Pa rtne rship
                      Address: c/o CSC of America 1111 East Main Richmond, VA 23219                                                                                                    D-01
 Defendant                                                                                                                              ~ Individual   ~ DBA ~ Corporation
                     elephone:1-800-772-1413
                        Name:                                                                                                           ("X" One)
 Additional                                                                                                                                            ~ LLC ~ Partnership
                      Address:                                                                                                                                                         D-02
 Defendant
                     elephone:                                                                                                          RIndividual EI DBA [] Corporation
 For more than 2 plaintiffs/defendants, attach Continuation of Pan`ies (form JD-CV-67) and "X" box.
                                                                                                           Li
 7.) If this claim is a consumer debt (a debt or obligation made primarily for personal, family or household reasons), give the reasons why you believe that the statute of limitations
 has not expired.


  Recent correspondence

 8.) How did you check in the last 6 months that the address given for defendant(s) is accurate? "X" all boxes that apply and provide the dates that the address was checked.

    � 1)    1 checked town or city records (for example, chedcing a street list or tax records);                                                            (date checked)

    � 2)    1 checked with tfte Department of Motor Vehicles;                                                          (date checked)

     X~ 3) 1 received correspondence (letters or other mail) from the defendant with that retum address; 10/18/2016                                                      (date checked)

    F~ 4) 1 reeeived other proof from the defendant that the address is current;
                                                                                                                                                                 (desciiption of proof
                                                                                                                                                                  and date checked)

    M 5) 1 mailed by first ctass mail, at least 4 weeks before this small claims action was filed, a letter to the defendant at the
                                                                                                                                                                 (last date checked
            address used ani the letter has not been retumed to me by the United States Postal Service.                                                          for retumed letter)
9.) Amount claimed*
                                           PIUS COStS []**Plus pre-judgment interest                                      "7f you check one ormore boxes, you MUST exp/ain
 $1,243.74                                                      Fl*•Plus double damages for security deposit withheld       how much you want for each ftem in section 10 below.

"The Amount Claimed may not be more than $5,000.
 Do not include amounts for pre4udgment interest or doubling the security deposit in thfs box.
To Defendant(s):
10.) You are being sued. The Plaintfff(s) claims you owe the above amount plus costs and pre-judgment interest and/or double damages for a withheld security deposit (if checked)
for the following reasons:

      Damaae to credit Irgport with en-oneous trade line.



The person signing below, beirig duly swom, states that he or she has read the claim above and the information contained in this form and, to the best of his or her knowledge,
infonnation and belief, there is good ground to support the daim and the information is true.
11.) S    d                                                           Type in name of person signing at left and title, if applicable    For Court Use Only (Date/ mp)
           ,                                                             Fran          bbb
                 r                   ~                                                    ~                                                                 :~
Subscn ' an sG
             ~jo t 7 tom
                r~             Date)
                      rv me on (                                         Si          1             Com '                   ~ourt)



     The Judicial Branch of the State of Connecticut complies with the Americans with
     Disabilities Act (ADA). If you need a reasonable accommodation in accordance with the
     ADA, contact a courl: clerk or an ADA contact person listed at www.jud.ct.gov/ADA/.

                        Original - Court               Copy 1- Defendant                      Copy 2- I                             m
                                                                                         Page 2 of 5
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INSTRUCTIONS TO DEFENDANT
(NOTICE TO PERSON BEING SUED)
JD-CV-121 New 1-11



                                                Please read the instructions carefully.
    For more information, get a copy of HOW SMALL CLA/MS COURT WORKS (form JDP-CV-45) from the C/erk's Ofice
    or from our websfte at www.iud.ct.00v/faa/smallclaims.html.

    What Do 1 Have To Do To Defend This Case?
    The person suing you (the Plaintiff) delivered to you (served you with) a copy of the Small Claims Writ and Notice of
    Suit and related documents, if any. After serving you, the plaintiff will file the Small Claims Writ and Notice of Suit and
    related documents with the court. The court will send an Answer form to you with the number the court assigns to the
    case, called the "docket number" of the case, and the date you must file your Answer by. This should happen soon but
    could be up to 6 weeks depending on when the plaintiff files the case with the court.

    The Answer is your response or reply to the claim by the plaintiff. Your Answer should be brief but specific. Fill out the
    entire Answer form and sign it. Keep a copy for yourself and send a copy to each attorney or other representative of the
    plaintiff, or if the plaintiff is representing himself or herself, to the plaintiff. Send the original Answer form to the court by
    mail, fax or hand delivery at the address or fax number shown below on or before the answer date. Please be sure to
    give us any change of your address.

    Do not answer until you get the Answer form from the court but if you do not get an Answer form within 6 weeks of
    being served, contact the court to ask why. If you do not file an Answer in writing with the court, a money judgment
    could enter against you. This is called a default judgment.

    You may make an agreement with the plaintiff before the plaintiff files the lawsuit in court or at any time before the court
    enters a judgment. You may hire a lawyer to represent you if you want to.

    You can find helpful information on our website at: http://www.jud.ct.gov/faq/smallclaims.html and you may check the
    status of your case after it has been given a docket number at: http://www.jud2.ct.gov/Small_Claims/.

    If you have any questions, you can visit or call the Centralized Small Claims Office at 80 Washington Street, Hartford,
    CT 06106. The telephone number in the Hartford area is 860-756-7800. The toll free telephone number in Connecticut
    is 866-383-5927. The fax number is (860) 756-7805.

    You do not need an attomey even if the plaintiff has one. However, you can have an attomey if you want to hire one.

    If you want to use the regular rules of court in this case or if you want the right to appeal this case, you must file a
    motion to transfer the case to the regular civil or housing docket of the superior court. You may need an attomey to
    help you in filing that motion and you will have to pay fees to file it. The motion to transfer must be filed, in writing, with
    an affidavit and with the correct fees, on or before the answer date.

    What Happens If I Do Not File An Answer?
    If you do not file an Answer, the file will be reviewed by a magistrate who will decide whether a judgment can enter
    without a hearing for the full amount of the claim plus court costs, or whether the case needs to be set down for a trial.

   What Happens If I File An Answer?
   Do not go to court on the answer date. After the court receives your Answer, a trial will be scheduled if one is
   required. Cases are scheduled for trial as quickly as possible.

   What Should 1 Do If The Plaintiff Owes Me Money?
   If you claim the plaintiff owes you money, this is called a counterclaim. Explain how much the plaintiff owes you and
   why in the counterclaim section of the Answer form.




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    What If I Know I Owe The Plaintiff Some Money?
    If you think you owe the plaintiff something, but you do not agree with the amount the plaintiff is asking for or you are
    not sure how much you owe the plaintiff, you should file a written Answer. This gives you a chance to come to court for
    a trial to question how the plaintiff added up the amount claimed.

    What Should I Do If I Admit That I Owe The Plaintiff The Whole Amount?
    If you are sure that you owe the whole amount but you want time to pay, you must file an Answer not later than the
    Answer date, stating that you want time to pay the claim and why you are asking for the extra time to pay. You may
    ask for a period of time during which you can make payments that you suggest. If you do not, and you are an
    individual, the court will enter a judgment with an order of payments of $35.00 each week until the judgment is paid. If
    you ask to pay less than $35.00 per week and the plaintiff does not agree, a trial will be scheduled.

    A judgment against a business entity, for example, a corporation, or a judgment against a landlord for return of a
    security deposit, will be ordered paid in the full amount. This will be entered as a judgment of the court.

    If you pay the plaintiff/plaintifrs attorney the full amount owed ptus costs, if any, before the answer date, tell the court
    on the Answer form. Do not send payment(s) to the court.

    Where And When Do 1 Have To Go To Court?
    If a trial is required, you will be sent a notice of the date, time and place of the trial. Even if you filed an Answer or a
    request for time to pay, the court can enter a judgment against you if you do not come to court on the date and time set
    for the trial.

    What Do I Need To Bring To Court?
    On the day of the trial, you must bring all your witnesses and evidence (bills, invoices, checks) to court with you. This
    includes any defective or damaged goods that can be brought to court safely and easily, estimates of damages,
    pictures, and anything else that you want the court to look at. Be complete and organized in your case. A small claims
    judgment cannot be appealed.




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                 (ADA). If you need a reasonable accommodation in accordance with the ADA, contact a court
                 clerk or an ADA contact person listed at www.jud.ct.gov/ADA/.




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                   Small Claims Writ of Notice


 Frando Webb.             vs                  Portfolio Recovery.
23 Ward Place.                                Associates, LLC
Hartford, CT. 06106                           % Corporation
                                              Service Company of America
                                              16th Floor
                                              1111 East Main.
                                              Richmond, VA 23219



                                              Acct. No: 5178058228018233



I paid off this balance in January, 2014.

Not once since opening this account had I made a late payment.

Moreover, just before eliminating the balance, I was assured by Capitol One that a$20
discrepancy had been resolved.

I'm seeking $.1,243.74--along with. damages provided under. statutes, as well as costs; or, the
permanent removal of this debt from my credit report and from Portfolio's files.

This action is being brought under the: Fair Debt Collection Act, Fair Credit Reporting Act,
Section (5) of The Federal Trade Commission Act; the Fair Credit Billing Act; Connecticut
consumer credit and commerce statutes.

Per Conll@CtiCut PraCtiCe BOok Sec. 24-204A.--Request for pocuments; Depositions

Please forward:

--The date of last payment
--Principal amount owed on December, 2013
--Principal amount owed on September, 2014
--Finance charges, for the year prior to account closure
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--All resolved disputes through Capital One's Customer Relations Management System for
  the year prior to closure
--Monthly account statements for the year prior to closure
--The debt sale contract between Capital One and Portfolio Recovery for the portfolio of debt
  that included this account
--All directives after July, 2014 from the Office of the Comptroller of the Currency to Capital
  One regarding debt.sales.
--Notice by Capital One to customer of negative information reported to credit reporting
   agency.
                                                                                                                                                   PRA001-0915-778114975-00011-11

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     tr Portfolio Recovery Associates, LLC
 41'S::[•. ::


Seller: CAPITAL ONE BANK (USA) N.A.                                                                                                                  September 16, 2016
Original Creditor: CAPITAL ONE BANK (USA) N.A.
Original Creditor Address: 4851 COX ROAD, GLEN ALLEN VA 23060
Creditor to Whom Debt is Owed: PORTFOLIO RECOVERY ASSOCIATES, LLC
Account Number: 5178058228018233
Current Balance: $1,243.73

 FRANDO J WEBB,

Welcome to Portfolio Recovery Associates, LLC ("PRA, LLC")! We want to help you resolve this account, so call us at
1-800-772-1413 for low payment options. If paying off this debt is difficult for you please call anyway, because we have
payment options for almost every budget.

PRA, LLC purchased account 5178058228018233 on 11/18/2015. AII future payments and correspondence for this
account, including credit counseling service payments, should be directed to us.




Various Payment Options Available Including:


                   Pay b}! Phone: W                                                    •     'Y                                            Online: P
          •     Authorize automatic withdrawals                • Complete the attached coupon                             •    Complete a payment from your
                from your bank account                                                                                         checking account
                                                               • Make all checks and payments to:
          •     Complete zi debit card payment                   Portfolio Recovery Associates, LLC                       •    Pay us online at:
                                                                 P.O. Box 12914                                                www.portfoliorecovery.com
                                                                 Norfolk, VA 23541




 Unless you notify this office within 30 days after receivin g this notice that you dispute the validity of
, this debt-or-ar*-portion-thPCe-of,-this office will .assurr-e—thi-s .dpb# is valid, If -you notify thls off.ice-_in
 writing within 30 days from receiving this notice that you, dispute the validity of this debt or any
 portion thereof, this office wlll obtain verificatlon of the debt or ob-tain a copX of a judgment and mail
 you a copy of such judgment or verification. If you request this office in writing within 30 days after
 recelving this notice, thls office will provide you with the name and address of the original creditor If
 different from the current creditor.




                   This oommunication is from a debt collector and is an attempt to collect a debt.
                                    Any information obtained will be used for that purpose.
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